UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT CHATTANOOGA

UNITED STATES OF AMERICA
Case No. 1:21-cr-10-TRM-SKL
Vv.

ANDREW CALHOUN

Nee Ne Ne SS Se Sa a

WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND
ENTRY OF PLEA OF NOT GUILTY

ly Andrew Calhoun ,an above named defendant, acknowledge that I
have been advised by my lawyer and the Court—by this form—that, pursuant to Rules
10 and 43 of the Federal Rules of Criminal Procedure and the Sixth Amendment to the
U.S. Constitution, Ihave the absolute right to be personally present in open court to be
arraigned (that is, advised of the charges against me), and to have the superseding
indictment read to me in open court. Understanding my rights, Ido hereby freely and

 

voluntarily waive my right to be present at my arraignment and my right to have the
indictment read to me in open court. I have received acopy of the indictment and I have
discussed the charges contained in the indictment and the waiver of appearance at
arraignment with my attorney. I fully understand the nature of the offenses charged
against me and the right to appear at arraignment. As evidenced by my signature affixed
below, Ido hereby waive formal arraignment and enter my plea of NOT GUILTY to the
indictment. IT understand that the Court’s entry of my plea will be an acceptance of this

Viol Lem

Befendant~

Date VAs p Maynor

Attorney for Defendant

waiver.

  

Date: 3| Z2/ 2/

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